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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

     Peter Seth Michaels,
                 Plaintiff
    -v-                                                     Case No. 2:23-cv-01174

    American Strategic Insurance Corporation
    d//b/a Progressive Flood,
                 Defendant
    ______________________________,

                           MEDIATION CONFERENCE REPORT

           In accordance with the Court’s mediation order(s), a mediation conference was
    held on June 12, 2024, and the results of that conference are indicated below:
           (a)    The following individuals, parties, corporate representatives, and/or
                  claims professionals attended and participated in the mediation
                  conference, and each possessed the requisite authority:
                  _x_     All individual parties and their respective trial counsel.
                  _x      Designated corporate representatives.
                  _x_     Required claims professionals.

           (b)    The following individuals, parties, corporate representatives, and/or
                  claims professionals failed to appear and/or participate: not applicable

           (c)    The outcome of the mediation conference was:
                  _x__       The case has been completely settled.

           Done this 12th day of June, 2024, in Fort Myers, Florida.

                                                  /s/ Anne Dalton, Esquire, Mediator
                                                  Anne Dalton, Esquire
                                                  Florida Bar No. 0852960
                                                  Certified Florida and Federal Mediator
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           CC: Counsel of Record; Unrepresented parties



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